                  Case 2:23-cv-00630-JLR Document 47 Filed 11/01/23 Page 1 of 3




                                                             THE HONORABLE JAMES L. ROBART
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 7                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   ANNA PATRICK, ET AL., individually and on              Case No.: 2:23-cv-00630 JLR
     behalf of all others similarly situated,
10                                                          NOTICE OF WITHDRAWAL OF
                                     Plaintiffs,            MOTION TO DISMISS
11
             v.
12
     DAVID L. RAMSEY, III, individually; HAPPY
13   HOUR MEDIA GROUP, LLC, a Washington
     limited liability company; THE LAMPO
14   GROUP, LLC, a Tennessee limited liability
     company,
15
                                     Defendants.
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18            PLEASE NOTE that Defendant Happy Hour Media Group, LLC, hereby withdraws its
19   Motion to Dismiss (Dkt. No. 32) noted for consideration on November 10, 2023, without prejudice
20   to its ability to re-file the motion or a modified motion to dismiss in compliance with the Court’s
21   October 31, 2023, Order (Dkt. 46).
22

23    DATED this 1st day of November, 2023.
24

25



                                                                                    CORR CRONIN LLP
       NOTICE OF WITHDRAWAL OF MOTION TO                                        1015 Second Avenue, Floor 10
       DISMISS                                                                 Seattle, Washington 98104-1001
       (Case No.: 2:23-cv-00630 JLR) - 1                                              Tel (206) 625-8600
                                                                                      Fax (206) 625-0900
         Case 2:23-cv-00630-JLR Document 47 Filed 11/01/23 Page 2 of 3




 1                                   CORR CRONIN LLP
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 7

 8                                   Attorneys for Defendant Happy Hour Media
                                     Group, LLC
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                                                                 Fax (206) 625-0900
              Case 2:23-cv-00630-JLR Document 47 Filed 11/01/23 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE

 2
            I hereby certify that on November 1, 2023, I caused the foregoing document to be
 3
     electronically filed with the Clerk of the Court using the CM/ECF system, which will send
 4
     notification of such filing to all counsel of record.
 5
                                                    s/ Wen Cruz
 6
                                                    Wen Cruz
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                                                                             CORR CRONIN LLP
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      (Case No.: 2:23-cv-00630 JLR) - 3                                        Tel (206) 625-8600
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